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November 6, 2023                                                         VIA CM/ECF FILING

The Honorable James Donato
Northern District California
San Francisco Courthouse
450 Golden Gate Avenue, Courtroom 11, 19th Floor
San Francisco, CA 94102

       Re:     Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.)
               Joint Stipulation Regarding Class Certification Concurrent Expert Proceeding

Dear Judge Donato:

        To provide further context to the request in the Joint Stipulation Regarding Class
Certification Concurrent Expert Proceeding. (ECF No. 687 at 3–4), Consumer Plaintiffs write to
follow up on their request that two of their experts—both of whom are important to Consumer
Plaintiffs’ class certification motion—be allowed to appear remotely at the December 5, 2023, Class
Certification Concurrent Expert Proceeding.

       First, Professor Lamdan (Consumer Plaintiffs’ privacy expert) has been undergoing
chemotherapy for the last few months and it will continue through the end of the year. As such,
under advice from her doctor, Professor Lamdan has been discouraged from airplane travel until the
new year. Professor Lamdan is based in New York. Second, on November 3, 2023, Mr. Klein
(Consumer Plaintiffs’ survey expert) had surgery based on a recent shoulder injury. Mr. Klein will
have limited mobility that would preclude his ability to travel alone and has been advised that there
are medical concerns with flying so quickly after a surgery, including blood clots. Mr. Klein is based
in New York.

        Plaintiffs have conferred with Facebook who has stated they take no position. Given this
good cause, Consumer Plaintiffs respectfully request that the concurrent expert proceedings take
place in a limited hybrid environment, with Professor Lamdan and Mr. Klein able to attend and
interact with the Court and other experts by Zoom. Drs. Economides and Farrell, Consumer
Plaintiffs’ economist experts, are available to attend in person. Counsel will also attend in person.


DATED: November 6, 2023                       Respectfully submitted,

By /s/ Shana E. Scarlett                       By /s/ Kevin Y. Teruya
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cc:   All counsel of record (via ECF)
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                          ATTESTATION OF SHANA E. SCARLETT
       This document is being filed through the Electronic Case Filing (ECF) system by attorney
Shana E. Scarlett. By her signature, Ms. Scarlett attests that she has obtained concurrence in the
filing of this document from each of the attorneys identified on the caption page and in the above
signature block.

Dated: November 6, 2023                       /s/ Shana E. Scarlett
                                                 Shana E. Scarlet
